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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

USA,

Plaintiff,
Case No. 19 CR 858-1

Magistrate Judge Harjani
Jason Brown,

)
)
)
)
v. )
)
)
)
Defendant. )

ORDER

 

Initial appearance proceedings held. Defendant appears in response to arrest on 11/14/2019.
Defendant informed of his rights. Enter Order appointing Nicholas G. Grapsas from the Federal
Defender Program/Panel as counsel for defendant. Government seeks detention; defendant
objects. Detention hearing is set for 11/21/2019 at 11am in courtroom 1219. Status regarding
preliminary examination is entered and continued. Defendant is hereby remanded into the
custody of the United States Marshal pending further order of court. Government’s oral
motion to unseal criminal complaint is granted. Case ordered unsealed.

Date: 11/14/2019 Is/ foo ft. Phage

United States Magistrate Judge

Time: 10 minutes
